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 1    RICHARD MAC BRIDE, SB# 199695
      LAW OFFICES OF RICHARD A. MAC BRIDE
 2    855 Marina Bay Parkway, Suite 210
 3    RICHMOND, CA 94804
      Phone 415-730-6289
 4    Fax 510-439-2786
      Attorney for Plaintiff Richard Sepulveda
 5
 6
 7
                                          UNITED STATES DISTRICT COURT
 8                                       NORTHERN DISTRICT OF CALIFORNIA
 9
      _____________________________________
10                                                             )   Case Number __________
      Richard Sepulveda,                                       )
11                                                             )
                                                               )
12                          Plaintiff,                         )
                                                               )   CIVIL RIGHTS
13    Vs.                                                      )
                                                               )   COMPLAINT FOR INJUNCTIVE RELIEF
14                                                             )   AND DAMAGES: DENIAL OF CIVIL
      Omkar Business Inc., individually and dba                )   RIGHTS OF A DISABLED PERSON, IN
15    Model Liquor; Ahmad Rasheed; Basima                      )   VIOLATION OF THE AMERICANS WITH
      Rasheed; and Does 1 to 50 inclusive,                     )   DISABILITIES ACT OF 1990 AS
16                                                             )   AMENDED, AND VIOLATION OF
                                                               )   CALIFORNIA’S CIVIL RIGHTS
17                              Defendants.                    )   STATUTES
                                                               )
18                                                             )   JURY TRIAL REQUESTED
19
20    Plaintiff herein complains of defendants herein, and alleges as follows:

21
                                                   JURISDICTION AND VENUE
22
23    1.    This court has jurisdiction over this matter and these defendants pursuant to 28 USC § 1331

24          for violations of the Americans with Disabilities Act of 1990 (42 USC §12101 et seq.).

25          Pursuant to pendant jurisdiction, attendant and related causes of action, arising from the same

26          facts, action is also bought under California law, including, but not limited to, violations of

27          California Government Code §4450; California Health and Safety Code §19953 et seq., and

28          applicable regulations, including but not limited to California Code of Regulations, Title 24,
          §19959; and California Civil Code §§ 51, 51.5, 52(a), 52.1, 54, 54.1, and 54.3. Defendant
     ___________________________________________________________________________________________________________


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 1         Omkar Business Inc. owns and operates a business called “Model Liquor” at 275 East
 2         Lewelling Blvd., San Lorenzo, California in this judicial district. Defendants Ahmad Rasheed
 3         and Basima Rasheed owns the real property on which this business is operated in this judicial
 4         district.
 5    2. Venue is proper in this court pursuant to 28 USC §1391(b) and is founded on the fact that the
 6         real property that is the subject of this action is located in this district, and that plaintiff’s cause

 7         of action arose in this district.

 8
                                                    INTRODUCTION
 9
10
      3. Model Liquor (the “Business”) is located at 275 E. Lewelling Blvd., San Lorenzo, California.
11
           Said business is owned and operated by defendant Omkar Business Inc. The real property is
12
           owned by Ahmad Rasheed and Basima Rasheed. The Business is a “public accommodation
13         and business establishment” subject to California Health and Safety Code §19953 et seq. and
14         California Civil Code §54 et seq. On information and belief, this Business has, since July 1,
15         1970, undergone construction and/or “alterations, structural repairs, or additions,” subjecting
16         such facility to disabled access requirements per Health and Safety Code §19953 to 19959 et

17         seq. Construction and alterations since July 1, 1982 also subjected these facilities to the
           requirements of California’s Title 24, the State Building Code. Further, irrespective of
18
           alternation history, such premises are subject to the “readily achievable” barrier removal
19
           requirements of Title III of the Americans with Disabilities Act of 1990.
20
      4. Defendant Omkar Business Inc. operates the Business, an establishment for services to the
21
           public at which business and location said defendants failed to provide barrier-free access to
22
           said establishment as required under federal and California state law. Further, defendants
23         failed to provide compliance with the law as follows:
24              a. Exterior: The designated parking space was defective, as follows. These conditions
25                   violated the Americans With Disabilities Act (“ADA”), United States Access Board
26                   ADA Accessibility Guidelines (“ADAAG”). ADAAG §4.6.3 (1991 standards) (the

27                   improper parking space dimensions), and §4.6.6 and §4.1.2(5)(b) (1991 standards) (the
                     lack of properly painted passenger access aisle that is 96 inches wide and a properly
28
                     painted parking space that is 18 feet long), and similarly, in violation of ADAAG
     ___________________________________________________________________________________________________________


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 1                   §502.3 (2010 standards). There was no proper designated disabled-accessible parking
 2                   space on the shortest accessible route to the main entrance, including that there was no

 3                   “van accessible” space on such route, in violation of ADAAG 4.6.2 (1991 standards)
                     (requiring shortest route), 4.1.2(b) (1991 standards) (one in eight, but no less than one,
 4
                     must be “van accessible” as per ADAAG 4.6.4); also under ADAS §208, §208.3.1
 5
                     (2010 standards); §502 (requirement for parking space), and §502.3 (requirement for
 6
                     access aisle)(2010 standards). There was incomplete or improper signage for a parking
 7
                     space, in violation of ADAAG 4.6.4 (1991 standards) and ADAAG 502.6 (2010
 8
                     standards)(signs too low on pole). These conditions also violated ADAAG 4.6.4 (1991
 9                   standards) and also violated 502.6 and 703.2.1 (2010 standards)(lack of proper signage,
10                   and no parking space designated “van accessible”). These conditions were also in
11                   violation of California Building Code (“CBC”) 11B 208.3.1 (parking space not on
12                   shortest accessible route); §11B-208 (insufficient paint, faded paint, and no paint to

13                   delineate the space itself or an access aisle), 11B-705.1.2.5 (lack of detectable
                     warnings at hazardous vehicle areas), 11B-502.2 (improper vehicle space dimensions,
14
                     in that there was not a properly laid-out access aisle), 11B-502.6.4 (faded or non-
15
                     existent surface identification), 11B-502.6 (“$250 fine” sign missing or improperly
16
                     displayed; no “van accessible” sign, or improperly displayed; and other required
17
                     signage was missing or improperly displayed); no space properly designated “van
18
                     accessible” (CBC 11B-208.2.4 requires one in every six spaces); and 11B-502.3.3 (“no
19                   parking” was not painted in an access aisle). The defective parking space also had a
20                   slope of more than 2%, in violation of ADAAG 4.6.3 (1991 standards), ADAS 502.4
21                   (2010 standards), and CBC 11B-503.4 (slopes not steeper than 1:48)(for parking
22                   spaces and access aisles); and 11B-403.3 (running slope no more than 1:20, cross slope

23                   no more than 1:48). These conditions caused plaintiff difficulties in finding a safe place
                     to park, safely exit his vehicle, and reach the entrance safely due to cross traffic
24
                     through the transit area. This caused plaintiff legitimate concern for his own safety as
25
                     he got out of his vehicle and entered the facility. Also, because of the lack of a proper
26
                     access aisle, plaintiff was concerned that another vehicle could pull in and try to park
27
                     next to him without realizing that a disabled person was in the process of entering or
28
                     exiting his vehicle.
     ___________________________________________________________________________________________________________


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 1              b. Exterior: The path of travel from the defective parking space to the entrance had a
 2                   slope of more than two percent, in violation of the rules for an “Accessible Route,”

 3                   ADAAG 4.3(1) (1991 standards), ADAAG 206.2.1 and 402, 402.2 (slope 1:20)(2010
                     standards), and ADAAG 303 (1/4 inch change in level) (2010 standards), as well as
 4
                     CBC 11B-206.2.1, 11B-403.4 (changes of level)(referencing 11B-303 “Changes in
 5
                     level,” ¼ inch max).
 6
 7
      5. The above barriers interfered with Plaintiff’s access to the facilities at the Business, and
 8
           continue to deter plaintiff from visiting said facilities, and as a legal result, plaintiff has
 9         suffered and suffers violations of his civil rights to full and equal enjoyment of goods,
10         services, facilities and privileges, and has suffered and will suffer embarrassment and
11         humiliation.
12
13                                                 FACTUAL ALLEGATIONS

14
      6. Plaintiff is, and at all times relevant to this complaint is, a “physically handicapped person,” a
15
           “physically disabled person,” and a “person with a disability” as those terms are used under
16
           applicable California law and under applicable federal law, including, but not limited to, Title
17
           III of the Americans with Disabilities Act of 1990. (The terms “physically handicapped
18
           person,” a “physically disabled person,” and a “person with a disability” will be used
19         interchangeably throughout this complaint.) Plaintiff is limited in the use of his legs and uses a
20         walker.
21    7. Defendants Omkar Business Inc., Ahmad Rasheed and Basima Rasheed, at all times relevant
22         herein, were and are the owners, operators, lessors, and/or lessees, franchisors and/or

23         franchisees, of public facilities at the Business, known as Model Liquor, located at 275 E.

24         Lewelling, San Lorenzo, subject to California state law requiring full and equal access to
           public facilities pursuant to California Health and Safety Code §19953 et seq., California Civil
25
           Code §§ 51, 51.5, 52(a), 52.1, 54, 54.1, and 54.3, and subject to Title III of the Americans with
26
           Disabilities Act of 1990, and to all the other legal requirements referred to in this complaint.
27
           Plaintiff does not know the relative responsibilities of the defendants in the operation of the
28
     ___________________________________________________________________________________________________________


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 1         Business facilities complained of herein, and alleges a joint venture and common enterprise by
 2         all such defendants.

 3    8. Defendant Omkar Business Inc., Ahmad Rasheed and Basima Rasheed at all times relevant
           herein were and are the owners, operators, possessors, builders and keepers of the Business
 4
           called Model Liquor in the city of San Lorenzo, California. Plaintiff is informed and believes
 5
           that each of the defendants herein is the agent, employee, or representative of each of the other
 6
           defendants, and performed acts and omissions as stated herein within the scope of such agency
 7
           or employment or representative capacity and is responsible in some manner for the acts and
 8
           omissions of the other defendants in legally causing the damages complained of herein, and
 9         have approved or ratified each of the acts or omissions of each other defendant, as herein
10         described.
11    9. Plaintiff does not know the true names and capacities of defendants Does 1 to 50, their
12         business capacities, their ownership connection to the property and the business, nor their

13         relative responsibilities or relationships among one another in causing the access violations
           herein complained of, and alleges a joint venture and common enterprise among all
14
           defendants. Plaintiff is informed and believes that each of the defendants herein is the agent,
15
           ostensible agent, master, servant, employer, employee, representative, franchiser, franchisee,
16
           joint venturer, partner, and associate, or such similar capacity, of each of the other defendants,
17
           and was at all times acting and performing, or failing to act or perform, with the authorization,
18
           consent, permission or ratification of each of the other defendants, and is responsible in some
19         manner for the acts and omissions of the other defendants in legally causing the violations and
20         damages complained of herein, and have approved or ratified each of the acts or omissions of
21         each other defendant, as herein described. Plaintiff will seek leave to amend this Complaint
22         when the true names, capacities, connections and responsibilities of defendants are

23         ascertained.
      10. Plaintiff is informed and believes that all named defendants, conspired to commit the acts
24
           described herein, or alternatively aided and abetted one another in the performance of the
25
           wrongful acts hereinafter complained of.
26
      11. Defendants are the owners of the property and operators of the Business called Model Liquor
27
           located in the city of San Lorenzo, California. This business, including, but not limited to,
28
           access aisles and access routes, is or forms a part of a “public accommodation or facility”
     ___________________________________________________________________________________________________________


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 1         subject to the requirements of California Health & Safety Code §19953, et seq., and of
 2         California Civil Code §§51, 52(a), 54, 54.1, et seq. On information and belief, this business, or

 3         portions of it, was constructed or altered after 1990, and after January 26, 1993, which fact has
           subjected the business to handicapped access requirements per California Code of Regulations
 4
           Title 24 (the State Building Code).
 5
      12. On or about April 12, 2022, May 12, 2022, June 12, 2022, and July 24, 2022 (the “Visit
 6
           Dates”), Plaintiff visited the Business for the purpose of buying food and drink. Defendants
 7
           interfered with Plaintiff’s access to the Business as set forth herein.
 8
      13. Said acts and omissions denied Plaintiff legal handicapped access to the Business and its
 9         facilities as required under state and federal law.
10    14. Plaintiff’s home in Oakland, California is approximately fourteen miles from the Business
11         located in the city of San Lorenzo. Plaintiff travels regularly to and through said city in this
12         area on business and pleasure trips. Plaintiff plans to return to the Business when this public

13         accommodation is made accessible.
      15. Plaintiff himself encountered the architectural barriers described herein, and/or is informed
14
           and believes that the architectural barriers described herein violate the California Code of
15
           Regulations and the Americans with Disabilities Act Guidelines for Buildings and Facilities
16
           (“ADAAG”) issued by the Department of Justice, and that they existed and continue to exist,
17
           and thereby deny Plaintiff and others similarly situated full and equal access to the Business
18
           facilities as set forth herein.
19    16. Defendants, and each of them, by these barriers, discriminated against Plaintiff, on the basis of
20         his physical disability, and interfered with his access to the Business and its facilities, in
21         violation of California law, including but not limited to §§51, 51.5, 54, 54.1, and in violation
22         of Title III, §302, the “Prohibition against Discrimination” provision, and §503, the

23         “Prohibition against Retaliation and Coercion” provision of the Americans with Disabilities
           Act of 1990.
24
      17. As a result of the actions and failure to act of defendants, and each of them, and as a result of
25
           the failure to provide proper and accessible entryways, and accessible accommodations for a
26
           store, Plaintiff suffered and will suffer the loss of his civil rights to full and equal access to
27
           public facilities, and further has suffered in the past and will suffer in the future emotional
28
           distress, mental distress, mental suffering, mental anguish, which includes shame, humiliation,
     ___________________________________________________________________________________________________________


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 1         embarrassment, anger, chagrin, disappointment and worry, expectedly and naturally associated
 2         with a person with a disability being denied access to a public accommodation, all to his

 3         damages as prayed hereinafter in an amount within the jurisdiction of this court.

 4
           I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
 5
                     DISABILITIES ACT OF 1990 (42 USC 12101 et seq.)
 6
 7
      18. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
 8
           allegations contained in paragraphs 1 to 17 above and incorporates them herein as if separately
 9         pled.
10    19. Pursuant to law, in 1990 the United States congress made findings per 42 USC 12101
11         regarding persons with physical disabilities, finding that laws were needed to more fully
12         protect [at that time] 43 million Americans with one or more physical or mental disabilities;

13         [that] historically society has tended to isolate and segregate individuals with disabilities;
           [that] such forms of discrimination against individuals with disabilities continue to be a serious
14
           and pervasive social problem; [that] the nation's proper goals regarding individuals with
15
           disabilities are to assure equality of opportunity, full participation, independent living and
16
           economic self-sufficiency such individuals; [and that] the continuing existence of unfair and
17
           unnecessary discrimination and prejudice denies people with disabilities the opportunity to
18
           compete on an equal basis and to pursue those opportunities for which our free society is
19         justifiably famous.
20    20. Congress stated as its purpose in passing the Americans With Disabilities Act of 1990 (42
21         USC 12102):
22              a. It is the purpose of this act (1) to provide a clear and comprehensive national mandate

23                   for the elimination of discrimination against individuals with disabilities; (2) to provide
                     clear, strong, consistent, enforceable standards; (3) to ensure that the Federal
24
                     Government plays a central role in enforcing the standards established in this Act on
25
                     behalf of individuals with disabilities; (4) to invoke the sweep of Congressional
26
                     authority, including the power to enforce the 14th amendment and to regulate
27
                     commerce, in order to address the major areas of discrimination faced day to day by
28
                     people with disabilities.
     ___________________________________________________________________________________________________________


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 1    21. As part of the Americans with Disabilities Act of 1990, Congress approved Title III – Public
 2         Accommodations and Services Operated by Private Entities (42 USC 12181, et seq.) Among

 3         the public accommodations identified under this title were “… a bakery, grocery store,
           clothing store, hardware store, shopping center, or other sales or rental establishment.”
 4
      22. Pursuant to 42 USC 12182,
 5
                a. “No individual shall be discriminated against on the basis of disability in the full and
 6
                     equal enjoyment of the goods, services, facilities, privileges, advantages or
 7
                     accommodations by any person who owns, leases, (or leases to), or operates a place of
 8
                     public accommodation.”
 9    23. Among the general prohibitions against discrimination were included in 42 USC
10         12182(b)(1)(A)(i):
11              a. Denial of Participation. It shall be discriminatory to subject an individual on the basis
12                   of a disability or disabilities of such individual or class, directly, or through

13                   contractual, licensing, or other arrangements, to a denial of the opportunity of the
                     individual or class to participate in or benefit from the goods, services, facilities,
14
                     privileges, advantages, or accommodations of an entity.
15
      24. Among the general prohibitions against discrimination were included in 42 USC
16
           12182(b)(1)(E):
17
                a. Association. It shall be discriminatory to exclude or otherwise deny equal goods,
18
                     services, facilities, privileges, advantages, accommodations, or other opportunities to
19                   an individual or entity because of the known disability of an individual with whom the
20                   individual or entity is known to have a relationship or association.
21    25. The acts of Defendants set forth herein were a violation of Plaintiff’s rights under the ADA,
22         and the regulations promulgated thereunder, 28 Code of Federal Regulations Part 36 et seq.

23    26. Among the general prohibits against discrimination were included in 42 USC
           12182(b)(2)(A)(i) and (ii):
24
                a. Discrimination. For purposes of subsection (a), discrimination includes:
25
                          i. the imposition or application of eligibility criteria that screen out or tend to
26
                               screen out an individual with a disability or any class of individuals with
27
                               disabilities from fully and equally enjoying any goods, services, facilities,
28
                               privileges, advantages, or accommodations, unless such criteria can be shown
     ___________________________________________________________________________________________________________


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 1                             to be necessary for the provision of the goods, services, facilities, privileges,
 2                             advantages, or accommodations being offered;
 3                        ii. a failure to make reasonable modifications in policies, practices, or procedures,
 4                             when such modifications are necessary to afford such goods, services, facilities,
 5                             privileges, advantages, or accommodations to individuals with disabilities,
 6                             unless the entity can demonstrate that making such modifications would
 7                             fundamentally alter the nature of such goods, services, facilities, privileges,
 8                             advantages, or accommodations.
 9    27. Plaintiff alleges that the facilities, policies, practices and procedure for entry to the Business
10         facility by persons with disabilities and their companions as established and set up by the
11         Defendants can be simply modified to eliminate disparate and discriminatory treatment of
12         persons with disabilities by properly constructing barrier-free handicapped access so as to
13         provide safe, full and equal enjoyment of the Business facilities as is enjoyed by other, non-
14         disabled, people.
15    28. The specific prohibition against retaliation and coercion is included in the Americans with
16         Disabilities Act of 1990 §503(b) and the Remedies and Procedures in §503(c):

17              a. Section 503(b) Interference, Coercion, or Intimidation. - It shall be unlawful to coerce,

18                   intimidate, threaten, or interfere with any individual in the exercise or enjoyment of, or

19                   on account of his or her having exercised or enjoyed, or on account of his or her having

20                   aided or encouraged any other individual in the exercise or enjoyment of, any right

21                   granted or protected by this Act.

22              b. Section 503(c) Remedies and Procedure. - The remedies and procedures available

23                   under sections 107, 203, and 308 of this Act shall be available to aggrieved persons for

24                   violations of subsections (a) and (b), with respect to Title I, Title II and Title Ill,

25                   respectively.

26    29. Among the specific prohibitions against discrimination were included, in 42 USC

27         §12182(b)(2)(a)(iv), "A failure to remove architectural barriers, and communications barriers

28         that are structural in nature, in existing facilities ... where such removal is 3dily achievable and
          (v) "where and entity can demonstrate that the removal of a barrier under clause (iv) is not
     ___________________________________________________________________________________________________________


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 1         readily achievable, a failure to make such goods, services, facilities, privileges, advantages, or
 2         accommodations available through such methods are readily achievable." The acts of
 3         Defendants set forth herein violated Plaintiffs rights under the "ADA," 42 USC 12181 et seq.,
 4         and the regulations promulgated thereunder, 28 CFA Part 36, et seq.
 5    30. The removal of the barriers complained of by Plaintiff as hereinabove alleged were at all times
 6         after 1990 "readily achievable.” On information and belief, if the removal of all the barriers
 7         complained of here together were not removable, the removal of each individual barrier
 8         complained of herein was "readily achievable."
 9    31. Per 42 USC §12181(9), “The term ‘readily-achievable’ means easily accomplishable and able
10         to be carried out. The statute and attendant regulations define relative ‘expense’ in relation to
11         the total financial resources of the entities involved, including any ‘parent’ companies.
12         Plaintiff alleges that properly repairing each of the items that Plaintiff complains of herein is
13         readily achievable, including, but not limited to, correcting and repairing the items set forth in
14         the Paragraphs above. The changes needed to remove barriers to access for the disabled were
15         and are readily achievable by the defendants under standards set forth under 42 USC §I2181 of
16         the Americans with Disabilities Act of 1990. (Further, if it were not "readily achievable" for
17         defendants to remove all such barriers, defendants have failed to make the required services
18         available through alternative methods, although such methods are achievable as required by 42
19         USC §12181(b)(2)(a)(iv)(, v).)
20    32. Pursuant to the Americans with Disabilities Act of 1990, §308 (42 USC §12188 et seq.),
21         Plaintiff is entitled to the remedies and procedures set forth in the Civil Rights Act of 1964
22         §204(a), (42 USC §2000a-3(a)), as Plaintiff is being subjected to discrimination on the basis of
23         disability in violation of this title andlor Plaintiff has reasonable grounds for believing that he
24         is about to be subjected to discrimination in violation of the Americans with Disabilities Act of
25         1990, §302. Plaintiff cannot return to or make use of the subject Business’ public facilities
26         complained of herein for the purpose of entry and provision of goods and service so long as
27         Defendants continue to apply eligibility criteria, policies, practices that screen out and refuse
28         to allow entry and service to persons with disabilities such as Plaintiff's.
     ___________________________________________________________________________________________________________


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 1    33. Each of Defendants’ acts and omissions of failing to provide barrier-free handicapped access
 2         for Plaintiff, were tantamount to interference, intimidation, and coercion pursuant to the
 3         Americans with Disabilities Act of 1990 §503(b) (now 42 USC §12203): “It shall be unlawful
 4         to coerce, intimidate, threaten, or interfere with any individual in the exercise or enjoyment of,
 5         or on account of his or her having aided or encouraged any other individual in the exercise or
 6         enjoyment of, any right granted or protected by this Act.”
 7    34. Pursuant to the Americans with Disabilities Act of 1990 §308(a)(1) (now 42 USC §12188),
 8         “Nothing in this section shall require a person with a disability to engage in a futile gesture if
 9         such person has actual notice that a person or organization covered by this title does not intend
10         to comply with its provisions." Pursuant to this last section, Plaintiff, on information and
11         belief, alleges that defendants have continued to violate the law and deny the rights of Plaintiff
12         and other disabled persons to access this public accommodation for the purpose of dining.
13         Therefore, Plaintiff seeks injunctive relief pursuant to §308(a)(2) “...Where appropriate,
14         injunctive relief shall also include requiring the provision of an auxiliary aid or service,
15         modifications of a policy, or provision of alternative methods, to the extent required by this
16         title.”
17    35. Plaintiff seeks relief pursuant to remedies set forth in §204(a) of the Civil Rights Act of 1964
18         (42 USC §2000a-3(a)), and pursuant to federal regulations adopted to implement the
19         Americans with Disabilities Act of 1990, including, but not limited to, an order granting
20         injunctive relief and attorneys’ fees. Such attorneys' fees, “including litigation expenses and
21         costs,” are further specifically provided for by §505 of Title Ill.
22         WHEREFORE, Plaintiff prays for damages as hereinafter stated.
23
24         II. SECOND CAUSE OF ACTION: BREACH OF STATUTORY PROTECTIONS FOR
25                   PERSONS WITH PHYSICAL DISABILITIES (California Health and Safety Code
26                   §19955 et seq.)
27
28
     ___________________________________________________________________________________________________________


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 1    36. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
 2         allegations contained in paragraphs 1 to 35 above and incorporates them herein as if separately
 3         pled.
 4    37. California Health & Safety Code §19955 provides in pertinent part: “The purpose of this part
 5         is to insure that public accommodations or facilities constructed in this state with private funds
 6         adhere to the provisions of Chapter 7 (commencing with Sec. 4450) of Division 5 of Tile 1 of
 7         the Government Code. For the purposes of this part "public accommodation or facilities"
 8         means a building, structure, facility, complex, or improved area which is used by the general
 9         public, and shall include auditoriums, hospitals, theaters, hotels, motels, stadiums, and
10         convention centers. When sanitary facilities are made available for the public, clients or
11         employees in such accommodations or facilities, they shall be made available for the
12         handicapped.
13    38. California Health & Safety Code §19956, which appears in the same chapter as §19955,
14         provides in pertinent part, "accommodations constructed in this state shall conform to the
15         provisions of Chapter 7 (commencing with Section 4450) of Division 5 of Title 1 of the
16         Government Code.. .” California Health and Safety Code §19956 was operative July 1, 1970,
17         and is applicable to all public accommodations constructed or altered after that date. On
18         information and belief, portions of the subject Business building and facilities were
19         constructed and/or altered after July 1, 1970, and substantial portions of said building and
20         facilities had alterations, structural repairs, and/or additions made to such public
21         accommodation after July 1, 1970, thereby requiring said public accommodations and/or
22         buildings to be subject to the requirements of Part 5.5, California Health Safety Code §19955,
23         et seq., upon such alteration, structural repairs or additions per California Health and Safety
24         Code §19955.
25    39. Pursuant to authority delegated by the California Government Code, the State Architect
26         promulgated regulations for the enforcement of these Code provisions. Effective January 1,
27         1988, Title 24 of the California Administrative Code adopted the California State Architect’s
28         Regulations, and these regulations must be complied with as to any alterations and/or
     ___________________________________________________________________________________________________________


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 1         modifications of the Business’ facilities after that date. Construction changes occurring prior
 2         to this date but after July 1, 1970, triggered access requirements pursuant to the "ASA"
 3         requirements, the American Standards Association Specifications, A117.1 -1961. On
 4         information and belief, at the time of the construction modification and of the Business’
 5         building and facilities, all buildings and facilities covered were required to conform to each of
 6         the standards and specifications described in the American Standards Association
 7         Specifications and/or those contained in Title 24 of the California Administrative Code (now
 8         known as Title 24, California Code of Regulations.)
 9    40. Public facilities such as the subject Business are public accommodations or facilities within
10         the meaning of California Health and Safety Code §19955.
11    41. It is difficult or impossible for persons with physical disabilities who use wheelchairs, canes,
12         walkers and service animals to travel about in public to use a store with the defects set forth
13         above as required by Title 24 of the California Code of Regulations and the Americans with
14         Disabilities Act Access Guidelines (ADAAG). Thus, when public accommodations fail to
15         provide handicap accessible public facilities, persons with disabilities are unable to enter and
16         use said facilities, and are denied full and equal access to and use of that facility that is
17         enjoyed by other members of the general public.
18    42. Plaintiff, and other similarly situated persons with physical disabilities whose physical
19         conditions require the use of wheelchairs, canes, walkers and service animals, are unable to
20         use public facilities on a “full and equal” basis unless each such facility is in compliance with
21         the provisions of the California Health & Safety Code §19955, et seq. Plaintiff is a member of
22         that portion of the public whose rights are protected by the provisions of California Health &
23         Safety Code §19955, et seq.
24    43. The California Health and Safety Code was enacted to “ensure that public accommodations
25         and facilities constructed in this state with private funds adhere to the provisions of Chapter 7
26         (commencing with §4450) of Division 5 of Title 1 of the Government Code.” Such “public
27         accommodations” are defined to include stores like this one.
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 1    44. Plaintiff is further informed and believes that as of the date of filing this complaint,
 2         Defendants have not made accessible the facilities at the Business as set forth above.
 3    45. Plaintiff, is informed and believes, and therefore alleges, that Defendants, and each of them,
 4         caused the subject buildings and facilities constituting the Business to be constructed, altered
 5         and maintained in such a manner that persons with physical disabilities were denied full and
 6         equal access to, within and throughout said buildings and were denied full and equal use of
 7         said public facilities, and despite knowledge and actual and constructive notice to such
 8         Defendants that the configuration of the store, and/or buildings was in violation of the civil
 9         rights of persons with physical disabilities, such as Plaintiff. Such construction, modification,
10         ownership, operation, maintenance and practices of such public facilities are in violation of
11         law as stated in Part 5.5, California Health & Safety Code §19955, et seq., and elsewhere in
12         the laws of California.
13    46. On information and belief, the subject building constituting the public facilities of the Business
14         have denied full and equal access to Plaintiff and other persons with physical disabilities in
15         other respects due to non-compliance with requirements of Title 24 of the California Code of
16         Regulations and the California Health & Safety Code §19955, el seq.
17    47. The basis of Plaintiff's aforementioned information and belief is the various means upon which
18         Defendants must have acquired such knowledge, including, but not limited to, this lawsuit,
19         other access lawsuits, communications with operators of other stores, and other property
20         owners regarding denial access, communications with Plaintiff and other persons with
21         disabilities, communications with other patrons who regularly visit there, communications
22         with owners of other businesses, notices and advisories they obtained from governmental
23         agencies through the mails, at seminars, posted bulletins, television, radio, public service
24         announcements, or upon modification, improvement, alteration or substantial repair of the
25         subject premises and other properties owned by these Defendants, newspaper articles and trade
26         publications regarding the Americans with Disabilities Act of 1990, and other access law, and
27         other similar information. The scope and means of the knowledge of each defendant is within
28         each defendant’s exclusive control and cannot be ascertained except through discovery.
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 1    48. As a result of Defendants' acts and omissions in this regard, Plaintiff has been required to incur
 2         legal expenses and hire attorneys in order to enforce his civil rights and enforce provisions of
 3         the law protecting access for persons with physical disabilities and prohibiting discrimination
 4         against persons with physical disabilities, and to take such action both in his own interests and
 5         in order to enforce an important right affecting the public interest. Plaintiff, therefore, seeks
 6         damages in this lawsuit for recovery of all reasonable attorneys' fees incurred, pursuant to the
 7         provisions of the California Code of Civil Procedure §l021.5. Plaintiff additionally seeks
 8         attorneys' fees pursuant to California Health & Safety Code §I9953 and California Civil Code
 9         §§54.3.
10    49. Defendants, and each of them, at times prior to and including the Visit Dates, and continuing
11         to the present time, knew or should have known that persons with physical disabilities were
12         denied their rights of equal access to all portions of this public facility. Despite such
13         knowledge, or negligence with respect to such knowledge, Defendants failed and refused to
14         take steps to comply with the applicable handicapped access statutes; and despite knowledge
15         of the resulting problems and denial of civil rights thereby suffered by Plaintiff and other
16         similarly situated persons with disabilities, including the specific notices referred to in this
17         Complaint. Defendants have failed and continue to fail to take action to grant full and equal
18         access to persons with physical disabilities in the respects complained of hereinabove.
19         Defendants and each of them have carried out a course of conduct of refusing to respond to, or
20         correct complaints about, denial of handicap access, or have been negligent in their obligations
21         under the law.
22    50. Defendants' actions have also been oppressive to persons with physical disabilities and to other
23         members of the public, and have evidenced actual or implied malicious intent towards those
24         members of the public, such as Plaintiff and other persons with physical disabilities who have
25         been denied the proper access they are entitled to by law. Further, Defendants’ refusals on a
26         day-to-day basis to correct these problems evidences despicable conduct in conscious
27         disregard for the rights of Plaintiff and other members of the public with physical disabilities.
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 1    51. As a result of the actions and failure of Defendants, and each of them, and as a result of the
 2         failure to provide proper accessible public facilities, Plaintiff was denied his civil rights,
 3         including his right to full and equal access to public facilities, was embarrassed and
 4         humiliated, suffered psychological and mental injuries and emotional distress, mental distress,
 5         mental suffering, mental anguish, which includes shame, humiliation, embarrassment, anger,
 6         chagrin, disappointment and worry, naturally associated with a person with a physical
 7         disability being denied access to a public accommodation.
 8         WHEREFORE, Plaintiff prays for damages as hereinafter stated.
 9
10         III.      THIRD CAUSE OF ACTION: VIOLATION OF CALIFORNIA’S CIVIL RIGHTS
11                   ACTS (California Civil Code §§54, 54.1 and 54.3)
12
13    52. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
14         allegations contained in paragraphs 1 to 51 above and incorporates them herein as if separately
15         pled.
16    53. The public facilities above-described constitute public facilities and public accommodations
17         within the meaning of California Health and Safety Code §19955 et seq. and are facilities to
18         which members of the public are invited. The aforementioned acts and omissions of
19         defendants, and each of them, constitute a denial of equal access to and use and enjoyment of
20         these facilities by persons with disabilities, including Plaintiff. Said acts and omissions are
21         also in violation of the provisions of Title 24 of the California Code of Regulations.
22    54. The rights of Plaintiff, the entitlement of Plaintiff to full and equal access, and the denial by
23         defendants of such rights and entitlements are set forth in California Civil Code §§54, 54.1 and
24         54.3, to wit:
25                a. Individuals with disabilities shall have the same right as the ...general public to full and
26                   free use of the streets, highways, sidewalks, walkways, public buildings, public
27                   facilities, and other public places. (California Civil Code §54(a).)
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 1              b. Individuals with disabilities shall be entitled to full and equal access, as other members
 2                   of the general public, to accommodations, advantages, facilities, and privileges of all
 3                   common carriers, airplanes, motor vehicles, railroad trains, motor buses, streetcars,
 4                   boats, or any other public conveyances or modes of transportation (whether private,
 5                   public, franchised, licensed, contracted, or otherwise provided), telephone facilities,
 6                   adoption agencies, private schools, hotels, lodging places, places of public
 7                   accommodation, amusement or resort, and other places to which the general public is
 8                   invited, subject only to the conditions and limitations established by law, or state or
 9                   federal regulation, and applicable alike to all persons. (California Civil Code §54.1(a).)
10    55. On or about the Visit Dates, Plaintiff suffered violations of California Civil Code §§54 and
11         54.1 in that he was denied full and equal enjoyment of the goods, services, facilities and
12         privileges of the Business as set forth in herein above. Plaintiff was also denied full and equal
13         access to other particulars, including, but not limited to, those described herein above. Plaintiff
14         was also denied use of facilities that he was entitled to under Title Ill of the Americans with
15         Disabilities Act of 1990.
16    56. As a result of the denial of full and equal enjoyment of the goods, services, facilities and
17         privileges of Defendants’ Business due to the acts and omissions of Defendants, and each of
18         them, in owning, operating and maintaining this subject Business as a public facility, Plaintiff
19         has suffered a violation of his civil rights, including, but not limited to, rights under California
20         Civil Code §§54, 54.1, and 54.3, and has suffered and will suffer an injury-in-fact in the form
21         of emotional distress, mental distress, mental suffering, mental anguish, which includes shame,
22         humiliation, embarrassment, anger, chagrin, disappointment and worry, expectedly and
23         naturally associated with a disabled person's denial of full and equal enjoyment of goods,
24         services, and privileges, all to his damages as prayed hereinafter in an amount within the
25         jurisdiction of this court. Defendants' actions and omissions to act constituted discrimination
26         against Plaintiff on the sole basis that Plaintiff is disabled.
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 1    57. Plaintiff seeks statutory damages for the violation of his rights as a disabled person that
 2         occurred on or about the Visit Dates, according to proof, pursuant to California Civil Code
 3         §54.3.
 4    58. As a result of Defendants' acts and omissions in this regard, Plaintiff has been required to incur
 5         legal expenses and hire attorneys in order to enforce his rights and enforce provisions of the
 6         law protecting the full and equal enjoyment of goods, services, facilities, privileges of public
 7         facilities by the disabled, and those individuals associated with or accompanied by a person
 8         with disabilities, and prohibiting discrimination against the disabled. Plaintiff, therefore, seeks
 9         recovery in this lawsuit for all reasonable attorneys' fees incurred pursuant to the provisions of
10         California Civil Code §51, 52, and 54. (California Civil Code §55 is specifically not invoked.)
11         Additionally, Plaintiff's lawsuit is intended not only to obtain compensation for damages to
12         Plaintiff, but also to compel the Defendants to make their goods, services, facilities and
13         privileges available and accessible to all members of the public with physical disabilities,
14         justifying public interest attorneys' fees pursuant to the provisions of California Code of Civil
15         Procedure §1021.5.
16    59. The acts and omissions of Defendants in failing to provide the required accessible facilities
17         subsequent to the enactment date and compliance date of the Americans with Disabilities Act
18         of 1990 and refusal to make remedial alterations to their facilities and other elements as
19         hereinabove stated, after being notified by patrons before and after the time of Plaintiff’s visit
20         and injuries, on or about the Visit Dates, and all times prior thereto, with the knowledge that
21         persons with disabilities would enter Defendants’ premises, the reason given therefor, was an
22         established policy, practice, and procedure of refusing and denying entry and/or use of
23         facilities, thereby denying services to a person with disabilities and the companions thereor,
24         evidence malice and oppression toward Plaintiff and other disabled persons.
25    60. Plaintiff seeks injunctive relief pursuant to California Civil Code §54 and Health and Safety
26         Code §19953 et seq. to require Defendants to comply with federal and state access regulations.
27    61. Defendants have failed to establish a non-discriminatory criteria, policy, practice and
28         procedure for entry into said Business as hereinabove described.
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 1    62. As a result of defendants’ continuing failure to provide for the full and equal enjoyment of
 2         goods, services, facilities and privileges of said Business as hereinabove described, Plaintiff
 3         has continually been denied his full and equal enjoyment of the subject store facilities at the
 4         Business, as it would be a “futile gesture to attempt to patronize” said Business with the
 5         discriminatory policy in place as hereinabove described.
 6    63. The acts and omissions of Defendants as complained of herein in failing to provide the
 7         required accessible facilities subsequent to the enactment date and compliance date of the
 8         Americans with Disabilities Act of 1990 and refusal to make remedial modifications and
 9         alterations to the architectural barriers as stated herein and in failing to establish practices,
10         policies and procedures to allow safe access by persons who are disabled are continuing on a
11         day-to-day basis to have the effect of wrongfully and willfully excluding Plaintiff and other
12         members of the public who are disabled from full and equal enjoyment of the subject Business
13         as hereinabove described. Such acts and omissions are the continuing cause of humiliation and
14         mental and emotional suffering of Plaintiff in that these actions continue to treat Plaintiff as an
15         inferior and second class citizen and serve to discriminate against him on the sole basis that he
16         is disabled. Plaintiff is unable so long as such acts and omissions of defendants continue, to
17         achieve full and equal enjoyment of the goods and services of said Business as described
18         hereinabove. The acts of Defendants have legally caused and will continue to cause irreparable
19         injury to Plaintiff if not enjoined by this court.
20    64. Wherefore, Plaintiff asks this court to preliminarily and permanently any continuing refusal by
21         Defendants to permit entry to said Business and to serve Plaintiff or others similarly situated,
22         and to require Defendants to comply forthwith with the applicable statutory requirements
23         relating to the full and equal enjoyment of goods and services as described hereinabove for
24         disabled persons. Plaintiff further requests that the court award statutory costs and attorneys'
25         fees to Plaintiff pursuant to California Code of Civil Procedure §I021.5, all as hereinafter
26         prayed for.
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 1   WHEREFORE, Plaintiff prays for statutory damages, reasonable attorneys' fees and costs of suit, as
 2   allowed by statute and according to proof.
 3
 4         IV.       FOURTH CAUSE OF ACTION: VIOLATION OF CALIFORNIA UNRUH CIVIL
 5                   RIGHTS ACT (California Civil Code §51 and §51.5.)
 6
 7    65. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
 8         allegations contained in paragraphs 1 to 64 above and incorporates them herein as if separately
 9         pled.
10    66. Defendant’ acts and omissions as specified with regard to the discriminatory treatment of
11         Plaintiff, on the basis of his disabilities, have been in violation of California Civil Code §§51
12         and 51.5, the Unruh Civil Rights Act, and have denied to Plaintiff his rights to “full and equal
13         accommodations, advantages, facilities, privileges or services in all business establishments of
14         every kind whatsoever.”
15    67. California Civil Code §51 also provides that “[a] violation of the right of any individual under
16         the Americans with Disabilities Act of 1990 (Public Law 101-336) shall also constitute a
17         violation of this section.”
18    68. California Civil Code §51.5 also provides that “[no business establishment of any kind
19         whatsoever shall discriminate against, boycott, or blacklist, refuse to buy from, sell to, or trade
20         with any person in this state because of the race, creed, religion, color, national origin, sex,
21         disability of the person or of the person's partners, members, stockholders, directors, officers,
22         managers, superintendents, agents, employees, business associates, suppliers, or customers.”
23    69. As a result of the violation of Plaintiffs civil rights protected by California Civil Code §§51
24         and 51.5, Plaintiff is entitled to the rights and remedies of California Civil Code §52,
25         consisting of statutory damages, as well as reasonable attorneys' fees and costs, as allowed by
26         statute, according to proof. California Civil Code §55 is specifically not invoked by plaintiff.
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 1    70. Pursuant to California Code of Civil Procedure §425.50: (a) this complaint is filed on behalf of
 2         a high-frequency litigant, as defined; (b) 16; (c) shopping in the San Lorenzo area; (d) to buy
 3         food and drink items from this business.
 4    71. WHEREFORE, Plaintiff prays that this court award statutory damages and provide relief as
 5         follows:
 6
 7                                                 PRAYER FOR RELIEF
 8   Plaintiff prays that this court award statutory damages and provide relief as follows:
 9
10       1. Grant injunctive relief requiring that Defendants establish a nondiscriminatory
11   criteria policy, practice and procedure permitting entry into the subject Business in
12   the City of San Lorenzo, California, for the purpose of obtaining the goods and services accorded
13   therein according to California Civil Code §§51, 51.5, 52, 54, 54.1, and 54.3, California Health and
14   Safety Code §19953 et seq., and Title Ill of the Americans with Disabilities Act of 1990, and grant
15   injunctive relief requiring that Defendants repair and render safe to disabled persons, and otherwise
16   make accessible, all public areas of the Business’ store, including, but not limited to, each of the
17   barriers to access identified above, and make such facilities “readily accessible to and usable” by
18   individuals with disabilities according to the standards of Title 24 of the California Administrative
19   Code, California Health & Safety Code §19955 et seq., and Title Ill of the Americans with
20   Disabilities Act of 1990 and the standards of ADAAG; and prohibiting operation of the Business
21   located in the City of San Lorenzo, California, as a public facility until Defendants provide full and
22   equal enjoyment of goods and services as described hereinabove to disabled persons, including
23   Plaintiff.
24       2. Statutory damages, according to proof, pursuant to California Civil Code §52, and statutory
25            damages, according to proof, pursuant to California Civil Code §54.3. Plaintiff
26            acknowledges that statutory damages cannot be claimed under both the Unruh Act and the
27            California Disabled Persons Act; he will make an election before or at trial in this respect.
28       3. Prejudgment interest on all damages to the extent permitted by law;
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 1       4. Remedies and Procedures available under Americans with Disabilities Act of 1990,
 2            including but not limited to §§I 07,203 and 308.
 3       5. Award Plaintiff all litigation expenses, all costs of this proceeding and a reasonable
 4            attorneys’ fees as provided by law, including, but not limited to, those recoverable pursuant
 5            to the provisions of California Civil Code §§52 and 54.3, California Code of Civil
 6            Procedure §1021.5, and Americans with Disabilities Act of 1990 5308 of Title Ill; and
 7       6. Grant such other and further relief as the court may deem just and proper.
 8
 9   /s/ Richard A. Mac Bride
10   Richard A. Mac Bride, Attorney for Plaintiff
11   Date: August 3, 2022
12
13                                                 REQUEST FOR JURY TRIAL
14
15   Plaintiff hereby requests a jury for all claims for which a jury is permitted.
16   /s/ Richard A. Mac Bride
17   Richard A. Mac Bride, Attorney for Plaintiff
18   Date: August 3, 2022
19
20
21                                                     VERIFICATION
22   I, Richard Sepulveda, plaintiff herein, hereby swear under penalty of perjury under the laws of the
23   State of California as follows: I am familiar with the contents of this complaint and verify that the
24   facts alleged are true and correct according to my personal knowledge, except as to those matters
25   that are pled on information and belief, and as to those matters, I have reason to believe that they
26   are true.
27
28   /s/ Richard Sepulveda
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 1   Richard Sepulveda
 2   Date: August 3, 2022
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